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In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-04-01105-CR
____________

TANGELIA DENISE JONES, Appellant

V.

THE STATE OF TEXAS, Appellee




On Appeal from the 230th District Court
Harris County, Texas
Trial Court Cause No. 940005



&nbsp;
MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant pleaded guilty to possession of less than one gram of cocaine and,
in accordance with a plea bargain agreement with the State, the trial court deferred
adjudication and placed appellant on community supervision for three years and
assessed a $500 fine.  The State filed a motion to adjudicate guilt to which appellant
pleaded true with a plea agreement of confinement in state jail for six months and a
$500 fine.  The trial court followed this agreement in pronouncing sentence. 
Appellant filed a timely notice of appeal.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Rule 25.2(a) of the Texas Rules of Appellate Procedure provides that, in a
plea-bargained case in which the punishment assessed does not exceed the plea
agreement, a defendant may appeal only those matters that were raised by written
motion filed and ruled on before trial, or after obtaining the trial court’s permission
to appeal.  Tex. R. App. P. 25.2(a)(2).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant pleaded guilty to the charge; she entered into a punishment
agreement with the State when she was adjudged guilty; and the trial court did not
exceed that agreement at sentencing.  This appeal is therefore limited by Rule 25.2(a). 
Comb v. State, 101 S.W.3d 724, 725-26 (Tex. App.—Houston [1st Dist.] 2003, no
pet.); see also Teel v. State, 104 S.W.3d 266, 267-68 (Tex. App.—Beaumont 2003,
no pet.).    The trial court’s certification of defendant’s right of appeal states that this
is a plea-bargained case, and the defendant has no right of appeal.  See Tex. R. App.
P. 25.2(d).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, we dismiss the appeal for lack of jurisdiction.

PER CURIAM

Panel consists of Justices Nuchia, Hanks, and Higley.

Do not publish.   Tex. R. App. P. 47.2(b).


